  Case 4:18-cv-04112-RAL Document 39 Filed 04/13/21 Page 1 of 1 PageID #: 719



                                 UNITED STATES DISTRICT COURT


                                   DISTRICT OF SOUTH DAKOTA

                                        SOUTHERN DIVISION



EMIL FLUTE, and                                                         4:18-CV-04112-RAL
PATRICIA FLUTE,

                         Plaintiffs,
                                                             ORDER TO SHOW CAUSE WHY CASE
                                                                  SHOULD NOT BE DISMISSED
         vs.



UNITED STATES OF AMERICA,

                         Defendant.




        On July 24, 2019, this Court allowed a 120-day period to conduct jurisdictional discovery key to

whether there were circumstances such that the United States had waived sovereign immunity. This Court

granted four joint motions to extend that time, ultimately setting September 30, 2020, as the deadline to
complete jurisdictional discovery. Doc. 38. This Court also set the Plaintiffs' deadline to submit any final
documents to this Court in opposition to the motion to dismiss as October 16, 2020, and the Defendant's

deadline to respond to "Plaintiffs' Proof Exemplar in Opposition to Motion to Dismiss" as November 20,

2020. There have been no further pleadings filed. For good cause, it is hereby

        ORDERED that Plaintiff has until April 30, 2021, to show cause why the case should not be

dismissed due to Plaintiff not having established federal jurisdiction through circumstances supporting a

waiver of sovereign immunity.

        DATED this 13th day of April, 2021.

                                                  BY THE COURT:



                                                                      ittf-—
                                                                fGE
                                                  ROBERTO A. LANG
                                                  CHIEF JUDGE
